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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
Key West Division
SOBNER FELIX, CASE NO.
Plaintiff,

V.

KEY LARGO MANAGEMENT CORP.,
a/k/a OCEAN PR, INC.,

Defendant.
/

COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

Plaintiff, SOBNER FELIX (“Plaintiff”) sues the Defendant, KEY LARGO MANAGEMENT

CORP., a/k/a OCEAN PR, INC, (“Defendant” or “the Hotel”), and as grounds therefor alleges:
INTRODUCTION

l . This is an action against the Defendant to recover damages pursuant to the Americans
With Disabilities Act of 1991 , 42 U.S.C. §12182, as amended by the Arnericans With Disabilities
Amendments Act of 2008 (“ADA”) and the Florida Civil Rights Act, Fla.Stat ch. 760, et seq.
(“FCRA”). Plaintiff seeks declaratory, injunctive, and equitable relief, as Well as compensatory and
punitive damages, costs and attorney’s fees.

JURISDICTIONAL ALLEGATIONS

2. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§1331, 1343(3),
1367(a) 42 U.S.C. §§ 1988 and 12182.

3. Compensatory, declaratory, injunctive and equitable relief is sought pursuant to 28
U.S.C. §§2201, 2202, and 42 U.S.C. §§ l981a, 1982 and 3601. Costs and attorneys fees may be

awarded pursuant to 42 U.S.C. 12205 and Florida Statutes Chapter 760.

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4. Venue is proper in the Southem District of Florida pursuant to 28 U.S.C. §139l(b)
because all of the actions upon which this case is based were committed in the Southem District of
Florida.

COMPLIANCE WITH CONDITIONS PRECEDENT

5. Plaintiff filed a charge of discn'mination with the Florida Commission on Human
Relations and the Equal Employment Opportunity Commission, (“EEOC”) which was assigned
Charge Number 510-2017-04054.

6. After completing its investigation, the Equal Employment Opportunity Commission
issued its Notice of Right to Sue on January 31, 2019. This Notice of Right to Sue is attached as
Exhibit “A”.

7. Thus, all conditions precedent to the initiation of this action against the Defendant
have been complied with through the administrative procedures of the EEOC.

THE PARTIES

8. Plaintiff is a citizen of the United States and a lawful resident of Miami-Dade County,
and over the age of 18.

9. Defendant is a business employing in excess of 15 employees with its place of business
in Monroe County.

FACTS GIVING RISE TO CAUSE OF ACTION

10. Plaintiff was hired as a Houseman by Defendant in 2003, in which job he permed

maintenance and repair job functions Plaintiff’s work performance, at all times, met or exceeded

Defendant’s legitimate expectations Plaintiff’S reviews of his perfomiance were always excellent

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1 1. On September 27, 2016, Plaintiff obtained a letter from his physician indicating that
he needed an accommodation because of a medical condition, diabetic retinopathy, a disability or
perceived disability Within the meaning of the ADA and the FCRA. Because of the condition,
Plaintiff s eyesight is poor at nighttime, and he is unable to drive to work.

12. Because' of the disability, Plaintiff provided a doctor’s note requesting that Plaintiff
not work a shift that would require him to drive home after the sun had gone down. Plaintiff drive
time to and from work Was substantial, because he lived in Miami-Dade County, but worked in
Monroe County.

13. Plaintiff provided the doctor’s note to Ms. Elsie Rodriguez. Plaintiff also provided
a copy to Human Resources. Ultimately, Ms. Rodriguez refused to provide Plaitniff with an
accommodation and told Plaintiff that he was fired because he could not work the 2 p.m. to 10 p.m.
schedule. She would have accommodated but for the disability, Plaintiff’s race and/or Plaintiff’ s
color.

14. As a direct and proximate result of the acts and omissions of Defendant, Plaintift’s
rights under the ADA and the FCRA were violated and he suffered the following injuries:

a. Pain and suffering;

b. Medical expense in the past and in the future;

c. Mental anguish, including but not limited to embarrassment, humiliation,
personal inconvenience and emotional distress;

d. Loss of capacity for the enjoyment of life;

e. Deprivation of life, liberty and property;

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Legal fees and expense;
Loss of earnings in the past and future;
Loss of earning capacity;
Injury to reputation;
Loss of the rights described herein;
Back pay;
Value of or the reinstatement of all benefits that he would have enjoyed but
for the actions of Defendant, but not limited to, bonuses, retirement and
pension benefits, health insurance, meal benefits and vacation benefits;
Incidental expenses;
Front pay and benefits until Plaintiff attains the age of 70 and/or a reasonable
time;
Punitive Damages and or liquidated damages; and

Any other relief this Court deems just and equitable.

Said damages are continuing in nature and Plaintiff will continue to suffer in the future.

15. Trial by jury demanded for all issues so triable if right by jury.

COUNT I

Violations of the Americans with Disabilities Act. 42 U.S.C. 812181 et seq
{Failure to provide reasonable accommodation and termination}

16. Plaintiff adopts and alleges the jurisdictional and general allegations of paragraphs

l through 15 .

17. This is an action to recover damages and injunctive relief brought pursuant to the

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Americans with Disabilities Act, codified as 42 U.S.C. §12101 et seq.

18. The actions taken by Defendant are in violation of the Americans with Disabilities
Act, codified as 42 U.S.C. §12101 et seq.

19. Plaintiff belongs to a protected class Within the meaning of the Americans with
Disabilities Act, codified as 42 U.S.C. §12101 et seq. because she is a qualified individual With a
disability.

20. As set forth above, Plaintiff requested a reasonable accommodation of Defendant and
his request was denied and/or never provided and she was ultimately temiinated for pretextual
reasons.

21. Defendant is liable because, as set forth above, Defendant was responsible for the
failure to provide a reasonable accommodation, though properly requested to provide such an
accommodation, and terminated Plaintiff.

22. AS a direct and proximate result of the actions or omissions, Plaintiff has sustained
those damages set forth above, all of which he is entitled to recover by law.

23. As a result of the deprivations of rights at the hands of Defendant and its agents,
Plaintiff has been forced to hire an attorney and pay him a reasonable fee, which he is entitled to
recover pursuant to 42 U.S.C. §12205 and otherwise by law

WHEREFORE, Plaintiff, SOBNER FELIX demands judgment against the Defendant, KEY
LARGO MANAGEMENT CORP., a/k/a OCEAN PR, INC for damages as set forth above, plus
punitive damages, injunctive relief, back pay, front pay, the costs of this action, attomey’s fees and

such other relief as this Court deems just and equitable and further demands trial by jury for all

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issues so triable of right by jury.
COUNT II
Violation of Florida Civil Rights Act of 1992
(Based upon disability, race and color)

24. The allegations of Paragraphs 1 through 15 are adopted and incorporated as if they
were fully set forth herein.

25. Plaintiff belongs to a protected class within the meaning of the Florida Civil Rights
Act because he is a qualified individual with a disability and because of his race and color (black).

26. The conduct of the Defendant to the Plaintiff in relation to the acts described herein
for failure to accommodate and termination of his employment violates the Florida Civil Rights Act
of 1992 as established at Florida Statutes Chapter 760.

27. Defendant’s violation of the Florida Civil Rights Act of 1992 as established at Florida
Statutes Chapter 760 has resulted in damages to Plaintiff.

28. As a result of the Defendant’s violation, Plaintiff is entitled to recover compensatory
and punitive damages against the Defendant.

29. Under the terms of the Florida Civil Rights Act of 1992 as established at Florida
Statutes Chapter 760, Plaintiff is entitled to recover from Defendant’s his attomey’s fees and costs
in bringing this action.

WHEREFORE, Plaintiff, SOBNER FELIX demands judgment against the Defendant, KEY
LARGO MANAGEMENT CORP., a/k/a OCEAN PR, INC for damages as set forth above, plus

injunctive relief, back pay, front pay, the costs of this action, attomey’s fees and such other relief as

this Court deems just and equitable and further demands trial by jury for all issues so triable of right

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by jury.
DEMAND FOR JURY TRIAL

Plaintiff demands trial by jury on all counts so triable.

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901 Ponce de Leon Blvd
Penthouse Suite

Coral Gables, Florida 33134
Telephone: (305) 441-8818
Facsimile: (305) 441-8081

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By: /s/ Martin E. Leach
Martin E. Leach
Florida Bar No. 003 7 990

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TO-' Sobner Felix FrOmf Miami District Office
155 N. W. 14th Street Miami Tower, 100 S E 2nd Street
Apt 521 Suite 1500
Florida City, FL 33034 Miami, FL 33131
|:| On behalf of person(s) aggrieved whose identity is
CONFIDENT/AL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.

Erline Jocelyn,
51 0-201 7-04054 lnvestigator (305) 808-1 788

THE EEOC lS CLOS|NG lTS FlLE ON TH|S CHARGE FOR THE FOLLOW|NG REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes

Your charge was not timely filed with EEOC; in other wordsl you Waited too long after the date(s) of the alleged
discrimination to me your charge

IUUUE

The EEOC issues the following detennination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

l]i]

Other (briefly state)

- NOT|CE OF SU|T RIGHTS -

(See the additional information attached to this form.)

Title Vll, the Americans with Disabilities Act, the Genetic information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This Will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed W|THlN 90 DAYS of your receipt of this notice; or your right to sue based on this charge Will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court Within 2 years (3 years for willful violations) of the
alleged EPA underpayment This means that backpay due for any violations that occurred more t_han 2 years (3 vears}
before you file suit may not be collectible.

On behalf of the Commission

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E"°'°S“”es<$l - HAEL J. FARRELL, ‘ mate Ma/'/ed)
District Director

 

 

CC' Respondent’s Representative Charginq Partv’s Representative
KEY LARGO MANAGEMENT CORP. Martin Leach
c/o Maureen M. Deskins, Corporate Counse| FE|LER & LEACH, P.L.
611 W. Platt Street 901 Ponce De Leon Blvd. Suite 300
Tampa, FL 33606 Cora| Gab|esl FL 33134
EXHIBIT

§\|90\

